Case 1:22-cv-01146-MN      Document 610   Filed 02/19/25   Page 1 of 17 PageID #: 37384




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

  ARM LTD.,                                 )
                                            )
                      Plaintiff,            )
                                            )
        v.                                  )   C.A. No. 22-1146 (MN)
                                            )
  QUALCOMM INC., QUALCOMM                   )
  TECHNOLOGIES, INC. and NUVIA, INC.,       )
                                            )
                      Defendants.           )

                 DEFENDANTS’ REPLY BRIEF IN SUPPORT OF THEIR
               POST-TRIAL BRIEF REGARDING EQUITABLE DEFENSES

                                           MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                                           Jack B. Blumenfeld (#1014)
  OF COUNSEL:                              Jennifer Ying (#5550)
                                           Travis Murray (#6882)
  Karen L. Dunn                            1201 North Market Street
  William A. Isaacson                      P.O. Box 1347
  Melissa F. Zappala                       Wilmington, DE 19899
  William T. Marks                         (302) 658-9200
  Anna P. Lipin                            jblumenfeld@morrisnichols.com
  PAUL, WEISS, RIFKIND,                    jying@morrisnichols.com
    WHARTON & GARRISON LLP                 tmurray@morrisnichols.com
  2001 K Street, NW
  Washington, DC 20006                     Attorneys for Defendants
  (202) 223-7300

  Catherine Nyarady
  Erin J. Morgan
  Jacob A. Braly
  Alexander M. Butwin
  PAUL, WEISS, RIFKIND,
    WHARTON & GARRISON LLP
  1285 Avenue of the Americas
  New York, NY 10019
  (212) 373-3000

  February 19, 2025
Case 1:22-cv-01146-MN                Document 610                Filed 02/19/25              Page 2 of 17 PageID #: 37385




                                               TABLE OF CONTENTS

                                                                                                                                  Page

  I.    ARGUMENT ...................................................................................................................... 1
        A.        Arm’s Inequitable Breach of Contract Constitutes Unclean Hands ....................... 1
        B.        Defendants Proved at Trial That Arm’s Hands Became Unclean When It
                  Breached Section 15.1 of the Nuvia TLA and ALA. .............................................. 3
                  1.         Arm Breached the Nuvia TLA by Continuing to Use Nuvia-Requested
                             Features in Its CMN Product. ......................................................................3
                  2.         Arm Breached the Nuvia ALA by Using Nuvia’s Confidential
                             Configuration Files Months After It Terminated the Nuvia ALA. ..............7
        C.        Preservation Obligations and Certification Are No Excuse. .................................. 9
  II.   CONCLUSION ................................................................................................................. 10




                                                                  i
Case 1:22-cv-01146-MN                   Document 610               Filed 02/19/25             Page 3 of 17 PageID #: 37386




                                                TABLE OF AUTHORITIES

                                                                                                                              Page(s)

  Cases

  Acceptance Indem. Ins. Co. v. JJA Auto Sales, LLC,
     No. 15 Civ. 02954, 2017 WL 1333612 (E.D. Pa. Feb. 3, 2017),
     aff’d, 716 F. App’x 134 (3d Cir. 2018) ......................................................................................5

  Alanis v. Nelson,
     No. 11 Civ. 02583 (JEM), 2011 WL 13130700 (C.D. Cal. Dec. 9, 2011),
     aff’d, 561 F. App’x 595 (9th Cir. 2014) .....................................................................................7

  Bistrian v. Levi,
      448 F. Supp. 3d 454 (E.D. Pa. 2020) .........................................................................................5

  Dollar Sys., Inc. v. Avcar Leasing Sys., Inc.,
     890 F.2d 165 (9th Cir. 1989) .....................................................................................................1

  In-N-Out Burgers v. Smashburger IP Holder LLC,
      No. 17 Civ. 1474 (JVS), 2018 WL 7891028 (C.D. Cal. 2018)..................................................1

  Katiroll Co. v. Kati Roll & Platters, Inc.,
     No. 10 Civ. 03620 (GEB), 2011 WL 2294260(D.N.J. Jun. 8, 2011) ........................................8

  Kendall-Jackson Winery, Ltd. v. Superior Court,
     76 Cal. App. 4th 970 (Ct. App. 1999)................................................................................2, 6, 7

  Nelson v. Nelson,
     No. A126962, 2011 WL 213857 (Cal. Ct. App. Jan. 25, 2011) ................................................1

  O’Flaherty v. Belgum,
     9 Cal. Rptr. 3d 286 (Ct. App. 2004) ..........................................................................................8

  Oakhurst Indus., Inc. v. Tubeway Assocs., L.P.,
     No. B201113, 2009 WL 4548342 (Cal. Ct. App. Dec. 7, 2009) ...............................................1

  Passport Health, Inc. v. Travel Med, Inc.,
     No. 09 Civ. 01753 (GEB), 2011 WL 590723 (E.D. Cal. Feb. 10, 2011) ..................................7

  Ricketts v. Compaction Plus, Inc.,
     No. D036553, 2002 WL 264645 (Cal. Ct. App. Feb. 25, 2002) ................................................1

  Ridgway v. Ford Dealer Comput. Servs., Inc.,
     114 F.3d 94 (6th Cir. 1997) .......................................................................................................4




                                                                    ii
Case 1:22-cv-01146-MN                     Document 610                 Filed 02/19/25              Page 4 of 17 PageID #: 37387




  RLI Ins. Co. v. City of Visalia,
     297 F. Supp. 3d 1038 (E.D. Cal. 2018),
     aff’d, 770 F. App’x 377 (9th Cir. 2019) .....................................................................................3

  Rowen Petroleum Props., LLC v. Hollywood Tanning Sys., Inc.,
     No. 08 Civ. 4764 (NLH), 2013 WL 12303311 (D.N.J. Sept. 30, 2013) ....................................5

  Safety PPE, LLC v. Skanda Group of Industries LLC,
      No. 21 Civ. 3967 (JFW), 2023 WL 2558549 (C.D. Cal. Feb. 13, 2023) ...................................7

  Saks v. Int’l Longshore & Warehouse Union-Pac. Mar. Ass’n Benefit Plans,
     637 F. App’x 282 (9th Cir. 2015) ..........................................................................................2, 3

  Schauerman v. Noble,
     No. A119960, 2009 WL 775108 (Cal. Ct. App. Mar. 25, 2009) ..............................................1

  Sketchley v. Lipkin,
     222 P.2d 927 (Cal. Ct. App. 1950) ............................................................................................2

  Other Authorities

  25 Williston on Contracts § 67:18 (4th ed. 2024) ............................................................................2

  31 Wright & Miller, Federal Practice and Procedure § 7184 (2d ed. 2024)..................................4

  Cal. R. of Ct. 8.1115 ........................................................................................................................1

  U.S. Ct. of App. 9th Cir. Rule 36-3. ................................................................................................2




                                                                       iii
Case 1:22-cv-01146-MN         Document 610        Filed 02/19/25      Page 5 of 17 PageID #: 37388




  I.     ARGUMENT

         A.      Arm’s Inequitable Breach of Contract Constitutes Unclean Hands

         Defendants contend that Arm’s claims are barred because Arm acted inequitably by

  breaching the same contractual obligations that form the basis for its own claim. D.I. 602 at 1–2,

  6. In response, Arm spends pages disputing an argument defendants did not make: that any

  contractual breach by a plaintiff is sufficient to establish a defense of unclean hands. Arm cites

  several cases that stand the uncontroversial proposition that a plaintiff’s claims are not barred

  because it may have committed a minor or immaterial breach. E.g., Oakhurst Indus., Inc. v.

  Tubeway Assocs., L.P., No. B201113, 2009 WL 4548342, at *15 (Cal. Ct. App. Dec. 7, 2009);

  Dollar Sys., Inc. v. Avcar Leasing Sys., Inc., 890 F.2d 165, 173 (9th Cir. 1989); Nelson v. Nelson,

  No. A126962, 2011 WL 213857, at *6 (Cal. Ct. App. Jan. 25, 2011).1 Similarly, Arm references

  the “general rule” that a breach by one party does not excuse a breach by the other, citing cases

  that either do not involve unclean hands or where the breach is not also inequitable. D.I. 606 at

  6–7 (collecting cases).

         Defendants’ unclean hands defense does not rely on an “[a]ccidental, inadvertent, or

  grossly negligent,” or “simple” breach of contract by Arm. D.I. 606 at 5–6. Instead, defendants’

  unclean hands defense is based on Arm’s inequitable and inconsistent conduct in suing defendants

  for the purported breach of an obligation that Arm itself has not fulfilled. See D.I. 602 at 1–2, 6;

  cf. In-N-Out Burgers v. Smashburger IP Holder LLC, No. 17 Civ. 1474 (JVS), 2018 WL 7891028,




  1
    Arm cites four unpublished state court cases that, according to California rules, “must not be
  cited or relied on by a court or a party.” Cal. R. of Ct. 8.1115(a); see Oakhurst Indus., 2009 WL
  4548342; Nelson, 2011 WL 213857; Schauerman v. Noble, No. A119960, 2009 WL 775108 (Cal.
  Ct. App. Mar. 25, 2009); Ricketts v. Compaction Plus, Inc., No. D036553, 2002 WL 264645 (Cal.
  Ct. App. Feb. 25, 2002). These cases have “neither precedential nor even potentially persuasive
  value.” Id. cmt. to (e)(3).


                                                   1
Case 1:22-cv-01146-MN          Document 610        Filed 02/19/25      Page 6 of 17 PageID #: 37389




  at *7 (C.D. Cal. Dec. 21, 2018) (denying motion to strike unclean hands defense where both parties

  allegedly engaged in false advertising).

         California law recognizes that the unclean hands defense may invoke “[a]ny conduct that

  violates conscience, or good faith, or other equitable standards of conduct” so long as it relates to

  the plaintiff’s cause of action. Kendall-Jackson Winery, Ltd. v. Superior Court, 90 Cal. Rptr. 2d

  743, 749 (Ct. App. 1999). Breach of contract can satisfy this requirement. D.I. 602 at 6 (citing

  Sketchley v. Lipkin, 222 P.2d 927, 933 (Cal. Ct. App. 1950) and Saks v. Int’l Longshore &

  Warehouse Union-Pac. Mar. Ass’n Benefit Plans, 637 F. App’x 282, 284 (9th Cir. 2015)).

         Arm’s efforts to distinguish these authorities fall short. Sketchley and Saks establish the

  basic proposition that a breach of contract can be the inequitable conduct that forms the basis for

  a defense of unclean hands. See 25 Williston on Contracts § 67:18 (4th ed. 2024) (“Where the

  plaintiff has already committed a material breach of the contract, specific performance will be

  refused.”). Arm insists incorrectly that Sketchley did not even involve the doctrine of unclean

  hands. D.I. 606 at 7. In a passage Arm does not quote, Sketchley states that the party would be

  denied recovery because “his hands are unclean” and “Equity does not aid him who has breached

  his agreement.” 222 P.2d at 934.

         Arm attempts to distinguish Saks by arguing that courts have rejected the Ninth Circuit’s

  understanding that California law has “long permitted an unclean hands defense to be sustained on

  the basis of breach of contract.” Saks, 637 F. App’x 282 at 284; see D.I. 606 at 6.2 But the only

  case Arm cites to support this supposed repudiation rejected an unclean hands defense because



  2
    Arm also purports to distinguish Saks on the ground that it is unpublished and that it “holds that
  the appellant in that case waived all of his arguments.” D.I. 606 at 7–8. The latter is irrelevant, as
  the Ninth Circuit offered an alternative holding on the merits of the unclean hands defense. Saks,
  637 F. App’x at 284. As to the former, unlike the unpublished state court cases cited by Arm, see
  n.1, supra, Saks is citable, persuasive authority under Ninth Circuit Rule 36-3.


                                                    2
Case 1:22-cv-01146-MN          Document 610        Filed 02/19/25      Page 7 of 17 PageID #: 37390




  there was no breach of contract to support the defense. RLI Ins. Co. v. City of Visalia, 297 F. Supp.

  3d 1038, 1058 (E.D. Cal. 2018), aff’d, 770 F. App’x 377 (9th Cir. 2019). The court found an

  agreement did not require the insurer to indemnify the defendant city and thus rejected the city’s

  unclean hands defense because it presented the “exact legal arguments” which the court “already

  resolved” in the insurer’s favor. Id.

         B.      Defendants Proved at Trial That Arm’s Hands Became Unclean When It
                 Breached Section 15.1 of the Nuvia TLA and ALA.

                 1.        Arm Breached the Nuvia TLA by Continuing to Use Nuvia-Requested
                           Features in Its CMN Product.

         Arm makes four arguments why its continued implementation of Nuvia-requested features

  in its CMN product does not render its hands unclean: (1) all feature requests were “Input,” to

  which Arm has a perpetual license; (2) Arm’s continued implementation does not violate Section

  15.1 of the TLA because Arm no longer uses Nuvia Confidential documents communicating the

  features; (3) Arm did not act in bad faith; and (4) a breach of the Nuvia TLA cannot render Arm’s

  hands unclean for purposes of the Nuvia ALA. Each argument is wrong.

         Input. Arm reads Section 2, Clause B.4(ii) of the 2019 Nuvia TLA Annex to treat all

  “requests for changes to design and implementation of the CMN-Kampos” as “Input,” regardless

  of whether those requests were made “in connection with a Development Release.” D.I. 606 at 9

  (quoting JTX-4 § 2, cl. B.4(ii)). Arm’s interpretation is flawed for at least two reasons.

         First, Clause B.4’s “Input” provision is triggered only after a licensee “elect[s] to

  exchange” CMN-Rhodes for CMN-Kampos. JTX-4 § 2, cl. B.4. Nuvia did not make this

  exchange until January 18, 2021, after it had already sent Arm the CMN feature requests at issue.

  D.I. 603 ¶¶ 30–31, 44.

         Second, Arm ignores that Clause B.4(ii)’s treatment as “Input” of “any requests to changes

  to design and implementation of the CMN-Kampos” applies only where a licensee “receive[s]


                                                   3
Case 1:22-cv-01146-MN         Document 610        Filed 02/19/25     Page 8 of 17 PageID #: 37391




  enhanced lead partner (‘ELP’) access for CMN-Kampos[.]” JTX-4 § 2, cl. B.4(ii). Enhanced lead

  partners had “early access” to CMN-Kampos and “engage[d] early (pre-Alpha)[.]” Id. Arm cites

  no documentary evidence that Nuvia had ELP access or engaged pre-alpha, and Arm’s sole witness

  could not recall any specifics regarding releases that Nuvia may have received. See Bench Tr.

  60:22–61:1 (Defilippi lacked knowledge of what Arm provided to Nuvia). Thus, there is no viable

  evidence supporting Arm’s contention.

         Section 15.1. Arm claims that because the Nuvia TLA is not in evidence, the Court cannot

  confirm its definition of “Confidential Information” or Arm’s obligations upon termination. D.I.

  606 at 10–11. But where, as here, a party fails to object at trial to the introduction of “relevant

  evidence regarding the terms of [a] contract” that was not itself introduced, any such objection is

  waived. Ridgway v. Ford Dealer Comput. Servs., Inc., 114 F.3d 94, 98 (6th Cir. 1997); see 31

  Wright & Miller, Federal Practice and Procedure § 7184 (2d ed. 2024). Moreover, Arm does

  not—and cannot—contest that the Nuvia TLA definition of Confidential Information and

  termination provision match those found in the Nuvia ALA, which is in evidence. D.I. 603 ¶ 52.

  Arm’s proposed findings of fact further state that the provisions contain the same restrictions,

  noting that the “Nuvia TLA contains similar provisions regarding discontinuance of use” as the

  Nuvia ALA and that “Arm discontinued use of Nuvia Confidential Information in compliance with

  Section 15.1(b) of both the Nuvia ALA and the Nuvia TLA.” D.I. 607 ¶¶ 33–34 (emphasis added).

  Arm has repeatedly tied the two termination provisions together, including in its February 1, 2022

  termination letter that quotes Section 15.1 as applied to both agreements, D.I. 603 ¶¶ 6–7, and in

  its response to Interrogatory No. 26 that states it “complied with Section 15.1(b) of the Nuvia ALA




                                                  4
Case 1:22-cv-01146-MN          Document 610         Filed 02/19/25       Page 9 of 17 PageID #: 37392




  and TLA by discontinuing use of materials designated ‘Nuvia Confidential.’” DTX-845 at 5, 8.3

         Next, Arm asserts that Nuvia Confidential Information consists only of documents marked

  “Nuvia Confidential,” not the Nuvia-requested features, and that defendants “failed to present

  evidence that Arm used these documents following termination of the Nuvia TLA.” D.I. 606 at

  11–12. As an initial matter, “Confidential Information” includes “information designated in

  writing . . . as confidential,” D.I. 603 ¶¶ 2, 52, it is not limited to the specific documents conveying

  the requested features. Moreover, Arm’s argument is contradicted by its response to defendants’

  Interrogatory No. 27, which was introduced into evidence. See id. ¶ 57 (citing DTX-845). That

  interrogatory asked Arm to “describe in detail all uses (internal or external) by ARM of such

  NUVIA Confidential Information, including the incorporation of NUVIA Confidential

  Information into any ARM products, including but not limited to, [] CMN.” DTX-845 at 13. Arm

  did not limit its response to identifying “documents” marked “Nuvia Confidential,” but instead

  identified five Nuvia-requested features implemented in the R1 release of CMN-Kampos. Id. at

  18. Arm cannot now argue against its own sworn statements.

         In any event, if “Confidential Information” was limited as Arm now suggests, that would

  defeat Arm’s entire claim against defendants. At trial, Arm did not present any evidence that

  Qualcomm and Nuvia misused any particular documents marked “Arm Confidential” following

  termination of the Nuvia ALA. Instead, its position was that Qualcomm’s products incorporated



  3
    The Court may also reopen the bench trial record to admit the TLA (JTX-3 (Ex. 1 hereto)).
  Bistrian v. Levi, 448 F. Supp. 3d 454, 483–85 (E.D. Pa. 2020). Arm cited the TLA in its opening
  (PDX-1.6) and also offered relevant evidence on these provisions, limiting any possible prejudice.
  See, e.g., id.; Acceptance Indem. Ins. Co. v. JJA Auto Sales, LLC, No. 15 Civ. 02954, 2017 WL
  1333612, at *4 (E.D. Pa. Feb. 3, 2017) (citing Zenith Radio Corp. v. Hazeltine Rsch., Inc., 401
  U.S. 321, 331–32 (1971)), aff’d, 716 F. App’x 134 (3d Cir. 2018); Rowen Petroleum Props., LLC
  v. Hollywood Tanning Sys., Inc., No. 08 Civ. 4764 (NLH), 2013 WL 12303311, at *2 (D.N.J. Sept.
  30, 2013).


                                                     5
Case 1:22-cv-01146-MN           Document 610 Filed 02/19/25             Page 10 of 17 PageID #:
                                           37393



Arm Confidential Information. Arm cannot have it both ways.

       Bad Faith. As Arm acknowledges, unclean hands can apply to “Any conduct that violates

conscience, or good faith, or other equitable standards of conduct.” Kendall-Jackson, 90 Cal. Rptr.

2d at 749; see D.I. 606 at 5, 8. To the extent Arm relies on “bad faith” as some heightened standard,

D.I. 606 at 5, that is wrong—any inequitable conduct can suffice. There is more than sufficient

evidence for the Court to conclude that Arm acted inequitably. Almost immediately after learning

that Nuvia wanted to modify the CMN, Arm sought to capitalize on the opportunity to “suck[]

knowledge out of Gerard’s team” by “engaging [Nuvia] on our road map” rather than providing

“full-fat modification rights.” D.I. 603 ¶ 45 (quoting DTX-1809 at 2).4 Arm did so by holding

regular meetings with Nuvia engineers to discuss CMN. Id. ¶ 38. After terminating Nuvia’s

agreements, Arm had to discontinue its use of Nuvia Confidential Information under Section 15.1.

Id. ¶¶ 8, 52. According to Arm, it certified compliance with Section 15.1, D.I. 606 at 18–19,5 but

did not actually comply: Arm kept Nuvia Confidential Information in its products and continued

to profit from it. D.I. 603 ¶¶ 56–60. Arm then sued defendants for violating this same provision.

       Different Agreements. Finally, Arm argues that its breach of the Nuvia TLA cannot

render its hands unclean for purposes of the Nuvia ALA, although it fails to cite any relevant case.



4
 When asked about this email at trial, Arm’s only live witness on this issue did not contest that
Arm sought to “suck knowledge” from Mr. Williams, and instead said “That’s not the language I
would use.” Bench Tr. 41:22–42:5 (Defilippi). Regardless of whether that is language Mr.
Defilippi would use, it is language that other Arm executives did use. See DTX-1809 at 2.
5
  Arm argues “Nuvia never requested that Arm remove the Nuvia-requested features from the
CMN product following termination.” D.I. 606 at 12. But under Section 15.1(b) Arm had an
obligation to stop using the Nuvia-requested features, which Arm concedes are Nuvia Confidential
Information. See D.I. 603 ¶ 57. Arm does not dispute it was obligated to cease use of Nuvia
Confidential Information and claims it did so post-termination, despite the features Arm admits
are Nuvia Confidential Information remaining in Arm’s products. D.I. 606 at 11. Moreover, Nuvia
was not aware its Confidential Information remained in recent versions of CMN—something
Nuvia learned during discovery in this case. See Mar. 6, 2024 Hr’g Tr. 4:10–5:22.


                                                 6
Case 1:22-cv-01146-MN           Document 610 Filed 02/19/25              Page 11 of 17 PageID #:
                                           37394



D.I. 606 at 13.6 Under California law, “any evidence of a plaintiff’s unclean hands in relation to

the transaction before the court or which affects the equitable relations between the litigants in the

matter before the court should be available to enable the court to effect a fair result in the

litigation.” Kendall-Jackson, 90 Cal. Rptr. 2d at 754 (emphasis added); see Alanis v. Nelson, No.

11 Civ. 02583 (JEM), 2011 WL 13130700, at *6 (C.D. Cal. Dec. 9, 2011) (violation of one

agreement can render hands unclean for another), aff’d, 561 F. App’x 595 (9th Cir. 2014). Arm’s

own breach of its reciprocal Section 15.1 obligations “affects the equitable relations between the

litigants” where Arm improperly misused Nuvia Confidential Information by incorporating it into

products that it sold to Nuvia’s competitors. Kendall-Jackson, 90 Cal. Rptr. 2d at 754.

               2.      Arm Breached the Nuvia ALA by Using Nuvia’s Confidential
                       Configuration Files Months After It Terminated the Nuvia ALA.

       Arm also used Nuvia Confidential Information post-termination, including when Vivek

Agrawal of Arm compared a Nuvia-confidential configuration file to a Qualcomm one. D.I. 603

¶ 19. Arm does not dispute this, D.I. 607 ¶ 26, but does claim that its “employees could” only

“theoretically ‘access’ Nuvia configuration files,” D.I. 606 at 15–16. But Arm employees admitted

that they had actual access months after termination, as they must have to run their comparison.

D.I. 603 ¶¶ 11–20.

       Arm argues that Mr. Agrawal’s use of Nuvia Confidential Information was somehow not

a “use” forbidden by Section 15.1 because it was a “comparative exercise,” and no Nuvia

Confidential Information was incorporated into Arm products. D.I. 606 at 14–15. Arm cites no


6
  In Passport Health, Inc. v. Travel Med, Inc., a franchisor/franchisee royalty payment lawsuit, the
franchisor’s hands were not unclean based on alleged fraud in an unrelated transaction. No. 09
Civ. 01753 (GEB), 2011 WL 590723, at *5 (E.D. Cal. Feb. 10, 2011). Here, by contrast, the Nuvia
ALA and TLA were part of the same transaction—they are dated the same day and include related
provisions. And Safety PPE, LLC v. Skanda Group of Industries LLC turned on lack of relevant
evidence. No. 21 Civ. 3967 (JFW), 2023 WL 2558549, at *7 (C.D. Cal. Feb. 13, 2023).


                                                  7
Case 1:22-cv-01146-MN           Document 610 Filed 02/19/25              Page 12 of 17 PageID #:
                                           37395



support for this strained interpretation. The Nuvia ALA says nothing about “use” within Arm

products and contains no limitations regarding the types of “use” prohibited by Section 15.1. Arm

concedes that it used Nuvia’s confidential configuration file when it ran a “diff” comparison; that

is an admission that it did not comply with Section 15.1.

       Arm also seeks to excuse its breach by arguing that its motivation was pure. D.I. 606 at

13–14. Setting aside the evidence presented at trial that Arm opposed the Nuvia acquisition (and

ultimately terminated the Nuvia agreement) in an attempt to extract higher royalty rates from

Qualcomm, e.g., DTX-57; DTX-144; DTX-145; DTX-1219, Arm’s motivation when it breached

the Nuvia ALA has no bearing on whether or not it committed a breach of Section 15.1.

       Arm argues that because it purportedly only used Nuvia Confidential Information to

“assess its contractual rights and obligations,” its breach does not render its hands unclean. D.I.

606 at 14. As is clear from the trial record, looking at the details of the Nuvia microarchitecture

design would not inform Arm in any way whether ARM Confidential Information, including ARM

Technology, was being used in Qualcomm products. D.I. 598 at 10–18. And neither case Arm

cites supports its conclusion. In O’Flaherty v. Belgum, unclean hands did not apply because the

alleged inequitable conduct did not relate to the transaction at issue and would have resulted in a

double punishment (forfeiture and damages). 9 Cal. Rptr. 3d 286, 298–99 (Ct. App. 2004).

Neither is true here. And in Katiroll Co. v. Kati Roll & Platters, Inc., a case that did not apply

California law, the court rejected an unclean hands defense where plaintiff’s letter to a third party

requesting that it take down defendant’s infringing content was “a rightful exercise of” its

trademark rights. No. 10 Civ. 03620 (GEB), 2011 WL 2294260, at *2 (D.N.J. June 8, 2011)

(emphasis added). A case about “the assertion of potentially valid rights to third parties” that was

“not sufficiently related to the action at issue,” id. at *3, hardly supports the proposition that Arm




                                                  8
Case 1:22-cv-01146-MN          Document 610 Filed 02/19/25             Page 13 of 17 PageID #:
                                          37396



was permitted to breach the Nuvia ALA in order to “assess its contractual rights.” Further, as is

clear from Arm’s complaint, Arm knew Qualcomm intended to develop its products using Nuvia

RTL, even without Mr. Agrawal’s “diff” comparison. See D.I. 1 ¶¶ 40, 43, 51–52.

         Finally, Arm contends that defendants have not been prejudiced by Arm’s ALA breach.7

But the configuration file contained confidential design information related to Nuvia’s planned

CPU design, which Arm recognizes as “embodying [Nuvia’s] proprietary know how” and “secret

sauce.” Tr. 597:20–598:2 (Grisenthwaite).        Arm understands the significance of accessing

Confidential Information, having espoused that its entire lawsuit is “premised” on protecting IP.

         C.     Preservation Obligations and Certification Are No Excuse.

         Arm claims that it has “proceeded in the same manner [as defendants] with respect to the

Nuvia Confidential Information in its possession, discontinuing any use rather than destroying.”

D.I. 606 at 17. That is wrong. As required by Section 15.1, Nuvia provided Arm with a timely

certification explaining its compliance with its obligations, having “removed [Arm IP] from the

Nuvia design completely and quarantined” it, “then under the Qualcomm Architecture License

Agreement, we downloaded – after we relicensed, if there weren’t licenses for IP, we relicensed

those pieces of technology from Arm, we conferred with the engineering team that did that work,

and the legal team that did that work, we reinstalled those new pieces of TLA IP into the database.”

Tr. 407:20–408:12 (Williams); see also Tr. 409:1–10 (Williams testifying that “the design team

made sure to quarantine all of the IP that would have been under any Nuvia contract, isolated it

and then we replaced it with IP that was downloaded under the Qualcomm TLA”). Defendants

proved at trial that Arm, on the other hand, “did not take any specific action” with regard to Nuvia




7
    Arm does not dispute that defendants have been prejudiced by Arm’s TLA breach.


                                                 9
Case 1:22-cv-01146-MN         Document 610 Filed 02/19/25            Page 14 of 17 PageID #:
                                         37397



Confidential Information, both retaining access to it and actually using it. D.I. 603 ¶¶ 12–17

(quoting Bench Tr. 10:23–11:15 (Larri)).

       Arm now claims that it certified compliance with Sections 15.1 of the Nuvia ALA and

TLA. Throughout discovery and at trial, Arm failed to produce any contemporaneous evidence

on this issue. Now, Arm even criticizes Qualcomm for failing to prove a negative. Arm notes that

Will Abbey testified “to the best of [his] knowledge” that Arm did so. D.I. 607 ¶ 35. At trial,

Qualcomm elicited extensive testimony from Mr. Abbey demonstrating that “the best of [his]

knowledge” was not credible. For example, he acknowledged that he had “triggered memories”

of things he had not remembered a year earlier, Tr. 191:14–21, and that these memories were

triggered “fairly recently,” Tr. 198:15–17. Arm has put forward no documentary evidence to

support Mr. Abbey’s testimony. To the contrary, Arm witnesses testified that they were not asked

to take action with respect to Nuvia Confidential Information. D.I. 603 ¶¶ 11–12.

II.    CONCLUSION

       For these reasons, judgment for defendants on Count I should be entered.




                                               10
Case 1:22-cv-01146-MN         Document 610 Filed 02/19/25      Page 15 of 17 PageID #:
                                         37398



                                           MORRIS, NICHOLS, ARSHT & TUNNELL LLP

OF COUNSEL:                                /s/ Jennifer Ying
                                           __________________________________
Karen L. Dunn                              Jack B. Blumenfeld (#1014)
William A. Isaacson                        Jennifer Ying (#5550)
Melissa F. Zappala                         Travis Murray (#6882)
William T. Marks                           1201 North Market Street
Anna P. Lipin                              P.O. Box 1347
PAUL, WEISS, RIFKIND,                      Wilmington, DE 19899
WHARTON & GARRISON LLP                     (302) 658-9200
2001 K Street, NW                          jblumenfeld@morrisnichols.com
Washington, DC 20006                       jying@morrisnichols.com
(202) 223-7300                             tmurray@morrisnichols.com

Catherine Nyarady                          Attorneys for Defendants
Erin J. Morgan
Jacob A. Braly
Alexander M. Butwin
PAUL, WEISS, RIFKIND,
WHARTON & GARRISON LLP
1285 Avenue of the Americas
New York, NY 10019
(212) 373-3000

February 19, 2025




                                          11
Case 1:22-cv-01146-MN          Document 610 Filed 02/19/25             Page 16 of 17 PageID #:
                                          37399



                                CERTIFICATE OF SERVICE

       I hereby certify that on February 19, 2025, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

February 19, 2025, upon the following in the manner indicated:

Anne Shea Gaza, Esquire                                                 VIA ELECTRONIC MAIL
Robert M. Vrana, Esquire
Samantha G. Wilson, Esquire
YOUNG CONAWAY STARGATT & TAYLOR, LLP
Rodney Square
1000 North King Street
Wilmington, DE 19801
Attorneys for Plaintiff

Joyce Liou, Esquire                                                     VIA ELECTRONIC MAIL
Daralyn J. Durie, Esquire
Shaelyn Dawson, Esquire
MORRISON & FOERSTER LLP
425 Market Street
San Francisco, CA 94105
Attorneys for Plaintiff

Erik J. Olson, Esquire                                                  VIA ELECTRONIC MAIL
Meet Yatin Mehta, Esquire
MORRISON & FOERSTER LLP
755 Page Mill Road
Palo Alto, CA 94304
Attorneys for Plaintiff

Scott F. Llewellyn, Esquire                                             VIA ELECTRONIC MAIL
Sarah E. Brickey, Esquire
MORRISON & FOERSTER LLP
4200 Republic Plaza
370 Seventeenth Street
Denver, CO 80202-5638
Attorneys for Plaintiff




                                                12
Case 1:22-cv-01146-MN          Document 610 Filed 02/19/25          Page 17 of 17 PageID #:
                                          37400



Daniel P. Muino, Esquire                                             VIA ELECTRONIC MAIL
Reebehl G. El-Hage, Esquire
David Nathaniel Tan, Esquire
Sydney K. Cooper, Esquire
MORRISON & FOERSTER LLP
2100 L Street, NW, Suite 900
Washington, D.C. 20037
Attorneys for Plaintiff

Nicholas Rylan Fung, Esquire                                         VIA ELECTRONIC MAIL
Henry Huttinger, Esquire
Laura Gilbert Remus, Esquire
Zach B. Quinlan, Esquire
MORRISON & FOERSTER LLP
707 Wilshire Boulevard
Los Angeles, CA 90017
Attorneys for Plaintiff

Kyle W.K. Mooney, Esquire                                            VIA ELECTRONIC MAIL
Kyle D. Friedland, Esquire
MORRISON & FOERSTER LLP
250 West 55th Street
New York, NY 10019
Attorneys for Plaintiff

Michael J. DeStefano, Esquire                                        VIA ELECTRONIC MAIL
MORRISON & FOERSTER LLP
600 Brickell Avenue, Suite 1560
Miami, FL 33131
Attorneys for Plaintiff

Gregg F. LoCascio, P.C.                                              VIA ELECTRONIC MAIL
Jason M. Wilcox, P.C.
KIRKLAND & ELLIS LLP
1301 Pennsylvania Avenue, N.W.
Washington, D.C. 20004
Attorneys for Plaintiff

Jay Emerick, Esquire                                                 VIA ELECTRONIC MAIL
KIRKLAND & ELLIS LLP
333 West Wolf Point Plaza
Chicago, IL 60654
Attorneys for Plaintiff
                                                /s/ Jennifer Ying

                                                Jennifer Ying (#5550)


                                           13
